AO 470 (01/09) Order Scheduling a Detention Hearing


                                   UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

USA                                                          §
                                                             §       Case Number: AU:21-M -00935(1)
vs.                                                          §
                                                             §
(1) Franklin Barrett Sechriest                               §
  Defendant




                        ORDER SCHEDULING A DETENTION HEARING



         A X detention hearing and a X                preliminary hearing in this case is/are scheduled as follows:


Place:                      501 West Fifth Street, Austin, Texas, 78701       Courtroom No.: 8, 7 Floor
Presiding Judge:            Magistrate Judge Mark Lane                        Date and Time: November 17,
                                                                              2021, at 10:30 AM

      IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the
United States Marshal or any other authorized officer. The custodian must bring the defendant to the
hearing at the time, date, and place set forth above.

       If defendant chooses to waive hearing, a written waiver (see attached) must be signed by
defendant and his/her counsel and filed by 4:00 p.m. the day before scheduled hearing.




              15th day of November, 2021                     ______________________________
                               Date                          MARK LANE
                                                             UNITED STATES MAGISTRATE JUDGE
                      UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

USA                                             §
                                                §
vs.                                             §     Case Number: AU:21-M -00935(1)
                                                §
(1) Franklin Barrett Sechriest                  §
      Defendant


             DEFENDANT'S RESPONSE TO NOTICE OF DETENTION HEARING

     Defendant, (1) Franklin Barrett Sechriest, files this response to the Notice of Detention
Hearing which was issued by the Court. After further investigation, Defendant wishes at this
time to waive his/her right to the detention hearing, subject to his/her right to bring a motion
concerning detention at a later date.



                                                    Respectfully submitted,
Defendant


Date                                                Attorney for Defendant




                                  CERTIFICATE OF SERVICE


      This is to certify that a true and correct copy of the foregoing document was hand
delivered to the Assistant United States Attorney on the           day of           , 20   .




                                                    Attorney for Defendant
AO 468 (Rev. 01/09) Waiver of a Preliminary Hearing




                                               UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

USA                                                            §
                                                               §
vs.                                                            §    NO: AU:21-M -00935(1)
                                                               §
(1) Franklin Barrett Sechriest                                 §

                                                 WAIVER OF A PRELIMINARY HEARING

        I understand that I have been charged with an offense in a criminal complaint filed in this court,
or charged with violating the terms of probation or supervised release in a petition filed in this court. A
magistrate judge has informed me of my right to a preliminary hearing under Fed. R. Crim. P. 5, or to a
preliminary hearing under Fed. R. Crim. P. 32.1.

             I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5 or Fed. R. Crim. P.
32.1.


Date:


                                                                            Defendant's signature




                                                                       Signature of defendant's attorney
